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EXHIBIT 1
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States of Amer;,

GAnited States Patent and Trademark Office lly

Reg. No. 4,000,272
Registered July 26, 2011

Int. Cls.: 9, 14, 16, 25, 28
and 41

TRADEMARK
SERVICE MARK
PRINCIPAL REGISTER

 

Director of the United Sates Patent and Trademark Office

VOLBEAT

VOLBEAT APS (DENMARK ANPARTSSELSKAB (APS))
C/O STEFAN AHLQVIST PEREVANGEN

24 ST TV SMORUMNEDRE

SMORUM, DENMARK 2765

FOR: VIDEO AND COMPUTER GAME SOFTWARE, COMPUTERIZED VIDEO TABLE
GAMES FOR GAMING PURPOSES, DOWNLOADABLE RING TONES, MUSIC, AND
ELECTRONIC GAMES VIA THE INTERNET AND WIRELESS DEVICES, DOWNLOADABLE
AUDIO FILES, MULTIMEDIA FILES, TEXT FILES, EMAILS, WRITTEN DOCUMENTS,
AUDIO MATERIALS, VIDEO MATERIAL AND GAMES ALL IN THE FIELD OF MUSIC,
JOYSTICKS FOR VIDEO GAMES, VIRTUAL REALITY GAME SOF TWARE AND WIRELESS
COMMUNICATION DEVICE FEATURING VOICE, DATA, AND IMAGE TRANSMISSION
INCLUDING VOICE, TEXT AND PICTURE MESSAGING, A VIDEO AND STILL IMAGE
CAMERA, ALSO FUNCTIONAL TO PURCHASE MUSIC, GAMES, VIDEO AND SOFTWARE
APPLICATIONS OVER THE AIR FOR DOWNLOADING TO THE DEVICE; HEADPHONES;
MAGNETS; MOUSEPADS; SWITCHPLATES, IN CLASS 9 (U.S. CLS. 21, 23, 26, 36 AND 38).

FOR: JEWELRY AND CLOCKS, IN CLASS 14 (U.S. CLS. 2, 27, 28 AND 50).

FOR: POSTERS, CALENDARS, DECALS, SONG BOOKS, MAGAZINES IN THE FIELD OF
MUSIC, PAPER COASTERS, NOTEBOOKS, STICKERS, PRINTING BLOCKS AND BOOK-
BINDING MATERIAL, IN CLASS 16 (U.S. CLS. 2, 5, 22, 23, 29, 37, 38 AND 50).

FOR: CLOTHING, NAMELY, T-SHIRTS, SHORTS, PANTS, SWEATPANTS, TANK TOPS,
BABY DOLL T-SHIRTS, SWEATSHIRTS, JACKETS, BASKETBALL JERSEYS, HOCKEY
JERSEYS, OTHER TYPES OF SPORTS JERSEYS, LONG SLEEVE T-SHIRTS, MUSCLE T-
SHIRTS, BABY ROMPERS, TODDLER T-SHIRTS AND TRACK PANTS; HEADWEAR AND
FOOTWEAR, IN CLASS 25 (U.S. CLS. 22 AND 39).

FOR: COIN-OPERATED VIDEO GAMES, IN CLASS 28 (U.S. CLS. 22, 23, 38 AND 50).

FOR: ENTERTAINMENT SERVICES, NAMELY, PROVIDING AN ON-LINE COMPUTER
GAME; ENTERTAINMENT SERVICES IN THE NATURE OF LIVE MUSICAL PERFORM-
ANCES AND ACTING PERFORMANCES, IN CLASS 41 (U.S. CLS. 100, 101 AND 107).

THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
TICULAR FONT, STYLE, SIZE, OR COLOR.

PRIORITY CLAIMED UNDER SEC. 44(D) ON ERPN CMNTY TM OFC APPLICATION NO.
008523243, FILED 10-7-2009, REG. NO. 008523243, DATED 5-10-2010, EXPIRES 10-7-2019.

SER. NO. 77-859,122, FILED 10-28-2009.

JEFF DEFORD, EXAMINING ATTORNEY
